Case 19-19513-JKS              Doc 308        Filed 05/11/22 Entered 05/12/22 11:35:54             Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)
GENOVA BURNS, LLC
110 Allen Road, Suite 304
                                                                     Order Filed on May 11, 2022
Basking Ridge, New Jersey 07920                                      by Clerk
Tele: (973) 467-2700 / Fax: (973) 467-8126                           U.S. Bankruptcy Court
Counsel to Barry Donaldson, Creditor                                 District of New Jersey

SCOTT S. REVER (SR 1425)

                                                           Case No.: 19-19513 JKS
In Re:
                                                           Honorable John K. Sherwood
JOHN PATRICK O’GRADY,
                                                           Chapter: 11
                                       Debtor.


  ORDER AUTHORIZING TRUSTEE TO REMIT FUNDS TO BARRY DONALDSON




         The relief set forth on the following page, numbered two (2), is hereby ORDERED.




          DATED: May 11, 2022
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(Page 2)
Debtor:                John Patrick O’Grady
Case no.:              19-19513 JKS
Caption of Order:      Order Authorizing Trustee to Remit Funds to Barry Donaldson

______________________________________________________________________________

         THIS MATTER having come before the Court by reason of the Trustee’s Motion to sell

the Debtor’s real property located at 91 Midvale Mountain Road, Mahwah, New Jersey 07430, and

the Court having entered an Order approving the sale and directing that the sale proceeds be held by

the Trustee pending further order of the Court; and Barry Donaldson having requested the turnover

of the sum of $89,464.30 representing 45% of the net proceeds of sale pursuant to a settlement

approved by Order of this Court dated August 18, 2021, which Order was affirmed on appeal to the

District Court by Order dated April 8, 2022; and for good cause having been shown, it is hereby

         ORDERED, that the Trustee shall promptly remit the sum of $89,464.30 to Barry

Donaldson by check payable to Genova Burns, LLC Trust Account, which funds shall be

transmitted to Barry Donaldson’s counsel no earlier than seven (7) days from the entry of this

Order.
